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11                   IN THE UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                              WESTERN DIVISION
14
     NOMADIX, INC.,                             Case No.
15                                              CV19-10202 DDP (Ex)
16               Plaintiff,
                                                STIPULATED PROTECTIVE
17         v.                                   ORDER
18   SIA MIKROTĪKLS; MICROCOM
                                                Honorable Charles F. Eick
19   TECHNOLOGIES, INC.; CREATIVE
     WIRELESS, INC.; and GLOBAL IT
20   COMMUNICATIONS, INC.,
21               Defendants.
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1                    ORDER AND STATEMENT OF GOOD CAUSE
2          The parties agree that disclosure and discovery activities in this action are
3    likely to involve production of highly sensitive financial or business information or
4    proprietary information that has not been disseminated to the public at large, that is
5    not readily discoverable by competitors and that has been the subject of reasonable
6    efforts by the respective parties to maintain its secrecy, and for which special
7    protection from public disclosure would be warranted. Such information likely will
8    include, among other things, sensitive product information, product-design and
9    development materials, engineering materials, marketing and sales information,
10   purchase orders, invoices, distributor information, and customer information relating
11   to network gateway devices and high-speed Internet access services.
12         Each party wishes to ensure that such confidential information shall not be
13   made public by the other party beyond the extent necessary for purposes of this
14   action. The parties therefore seek to facilitate the production and protection of such
15   information. The parties acknowledge that this Protective Order does not confer
16   blanket protections on all disclosures or responses to discovery and that the
17   protection it affords extends only to the limited information or items that are entitled
18   under the applicable legal principles to treatment as confidential. The parties further
19   acknowledge that this Protective Order does not itself establish entitlement to file
20   confidential information under seal.
21         Good cause exists to enter the instant Protective Order to protect such
22   confidential information from public disclosure. The confidential information
23   includes information that could be used by actual or potential competitors to gain a
24   competitive advantage in the marketplace. Moreover, the parties are themselves
25   competitors.
26         Accordingly, based upon the parties’ agreement and for good cause shown,
27         IT IS HEREBY ORDERED that whenever in the course of these proceedings
28   any party or nonparty has occasion to disclose information deemed in good faith to
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1    constitute confidential information, the parties and any such nonparty shall employ
2    the procedures set forth below.
3                                      DEFINITIONS
4          1.     The term “document” includes everything covered by the terms
5    document and electronically stored information appearing in Federal Rule of Civil
6    Procedure 34(a) and includes everything covered by the terms writing, recording,
7    and photograph defined in Federal Rule of Evidence 1001.
8          2.     The term “Litigation Material” encompasses all documents, tangible
9    things, exhibits, excerpts, summaries, pleadings, reports, declarations, affidavits,
10   testimony, transcripts, interrogatory responses, admissions, and any other discovery
11   material.
12         3.     The term “Producing Party” refers to any party or nonparty to this
13   Action that provides Litigation Material.
14         4.     The term “Receiving Party” refers to any party or nonparty that
15   receives, is shown, or is otherwise exposed to Litigation Material.
16         5.     The term “Action” refers to the above-captioned action.
17         6.     The term “Termination of this Action” refers to the completion of this
18   Action through exhaustion of all appeals from orders and final judgments or through
19   settlement by the parties.
20                                     DESIGNATIONS
21         7.     Any Producing Party may designate Litigation Material as
22   “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in accordance with
23   this Protective Order.
24         8.     The terms “Confidential Material” and “Highly Confidential –
25   Attorneys’ Eyes Only Material” refer to: any Litigation Material designated
26   “Confidential” and “Highly Confidential – Attorneys’ Eyes Only,” respectively; any
27   copies thereof; and the information contained in such Litigation Material or such
28   copies, including summaries of such information. The term “Protected Material”
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1    refers collectively to Litigation Material that is Confidential Material or Highly
2    Confidential – Attorneys’ Eyes Only Material.
3                              DESIGNATION PROCEDURE
4          9.     The designation of any Litigation Material as “Confidential” or “Highly
5    Confidential – Attorneys’ Eyes Only” shall be effective until the Court orders
6    otherwise or the Producing Party revokes the designation pursuant to paragraph 35.
7          10.    To designate Litigation Material as “Confidential” or “Highly
8    Confidential – Attorneys’ Eyes Only,” a Producing Party shall, when practicable,
9    place the words “Confidential” or “Highly Confidential – Attorneys’ Eyes Only,”
10   respectively, clearly on each page or portion of the Litigation Material the Producing
11   Party seeks to protect pursuant to this Protective Order. In particular, electronic
12   documents, documents in native format, and data shall be so marked when
13   practicable; and when not practicable, the disks, hard drives, or other media
14   containing such documents or data shall be appropriately marked.
15         11.    If, during any deposition in this Action, (i) a Producing Party’s
16   Protected Material is disclosed or discussed or (ii), with respect to a given Producing
17   Party, some of the deposition testimony otherwise qualifies for a confidentiality
18   designation pursuant to any of paragraphs 14 through 15, the Producing Party may
19   designate portions of the deposition testimony (including exhibits) as “Confidential”
20   or “Highly Confidential – Attorneys’ Eyes Only” on the record or by providing
21   written notice to the reporter and all counsel of record of any portion of the transcript
22   or exhibits containing Protected Material, and the corresponding designation(s). If
23   written notice is provided, such notice by the Producing Party shall be given no later
24   than ten (10) business days after the Producing Party receives written notice that a
25   final transcript is available for review, in which case all counsel receiving such
26   notice from the Producing Party shall be responsible for marking the corresponding
27   materials in their possession or control as directed by the Producing Party.
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1          12.     If deposition testimony is designated pursuant to paragraph 11, one of
2    the following legends, some combination thereof, or a legend substantially similar
3    to the same shall be placed on the front of any transcript or recording of such
4    deposition:
5          Contains CONFIDENTIAL MATERIAL
6    or
7          Contains HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
8          MATERIAL
9          13.     Unless portions of the deposition transcript are designated on the
10   record, from the time of any deposition through the end of eleven (11) business days
11   after a final transcript of the deposition is made available by a reporter, the deposition
12   (including exhibits) and any transcript or recording thereof shall be treated as Highly
13   Confidential – Attorneys’ Eyes Only Material. At the end of the eleven (11) business
14   days, the deposition (including exhibits) and any transcript or recording thereof shall
15   be treated as public information (with no confidentiality designation) except to the
16   extent designated pursuant to paragraph 11 (and in the case of an exhibit, also except
17   to the extent the exhibit was designated Protected Material before the deposition).
18                          DESIGNATION QUALIFICATIONS
19         14.     Litigation Material may be designated “Confidential” if it is or
20   contains: (a) information that is nonpublic; (b) information that includes trade-secret
21   or other confidential research, development, or commercial information, the
22   disclosure of which the Producing Party reasonably believes could harm the business
23   operations of the Producing Party or provide improper business or commercial
24   advantage to others; or (c) information that is protected by a right of privacy under
25   federal or state law or any other applicable privilege or right related to confidentiality
26   or privacy.
27         15.     Litigation Material may be designated “Highly Confidential –
28   Attorneys’ Eyes Only” if it is or contains nonpublic information so commercially
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1    sensitive that disclosure of the information to persons who are not outside litigation
2    counsel would likely harm the competitive commercial position of the Producing
3    Party or another entity to whom the Producing Party owes an obligation of
4    confidentiality. The following are sample categories, without limitation, of
5    Litigation Material that in many cases will qualify for the “Highly Confidential –
6    Attorneys’ Eyes Only” designation:
7                 a.    documents that describe the structure or operation of a Producing
8          Party’s existing products or products in development, including schematic
9          diagrams, manufacturing drawings, engineering drawings, engineering
10         notebooks,     specifications,   software-design     documentation,     system-
11         architecture documentation, research notes and materials, and other technical
12         descriptions or depictions;
13                b.    documents relating to a Producing Party’s prosecution of (i)
14         unpublished patent applications or (ii) patents that have not yet issued and that
15         contain claims that are not publicly known;
16                c.    licensing and/or settlement-related documents, including, but not
17         limited to, communications with or between potential or actual licensors and
18         licensees;
19                d.    financial data or information, including information concerning
20         sales, revenue, profit margins, costs, capacity, return on investment, capital
21         expenditures, yields, utilization, or similar benchmarks;
22                e.    customer lists;
23                f.    business, strategy, or marketing plans;
24                g.    pricing information;
25                h.    information obtained from a nonparty pursuant to a
26         nondisclosure agreement;
27                i.    agreements with any nonparty, including OEMs, suppliers,
28         distributors, and customers;
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1                j.     negotiations related to the sale of any product manufactured or
2          sold by a party, including data related to negotiations or sales opportunities;
3                k.     budgets, forecasts, and projections; and
4                l.     documents or things generated during the course of, or as a result
5          of, an inspection of portions of a Producing Party’s facilities normally closed
6          to the public.
7                                      DISCLOSURE
8          16.   Subject to the restrictions of paragraphs 17 through 18, a Receiving
9    Party may disclose Protected Material to:
10               a.     its own “Outside Counsel,” i.e., the law firms that are counsel of
11         record for the Receiving Party, including the firms’ associated attorneys, law
12         clerks, analysts, paralegals, secretaries, translators, clerical staff and other
13         persons regularly employed by such law firm(s), and any temporary personnel
14         retained by such law firm(s) to perform legal or clerical duties or to provide
15         logistical litigation support reasonably necessary to assist in the conduct of
16         this Action—including service contractors (such as document copy services)
17         and graphic artists—provided that no person who is now or becomes a
18         director, officer, employee, or in-house attorney of a party during the
19         pendency of this Action shall be considered Outside Counsel;
20               b.     Outside Counsel for any party in this action;
21               c.     up to three designated employees of the Receiving Party deemed
22         necessary by the Receiving Party’s Outside Counsel to supervise or aid in the
23         prosecution, defense, or settlement of this Action, but the Receiving Party
24         may not begin to disclose Protected Material to any such employee until ten
25         (10) business days after serving on the other parties’ counsel a copy of the
26         confidentiality agreement attached to this Protective Order as Exhibit A
27         signed by such employee;
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1               d.     outside experts and consultants (together with their associates
2         and clerical staff whose duties and responsibilities require access to Protected
3         Material) specifically engaged by the Receiving Party or its Outside Counsel
4         to assist in the Action, subject to the following: the Receiving Party may
5         disclose Protected Material to such an expert or consultant only to the extent
6         necessary to receive such assistance and, in the event that no objection is made
7         pursuant to paragraph 33, may not begin to disclose Protected Material until
8         ten (10) business days after serving on the other parties’ counsel (i) a copy of
9         the confidentiality agreement attached to this Protective Order as Exhibit A
10        signed by such expert or consultant, (ii) a curriculum vitae of the proposed
11        expert or consultant, including the expert or consultant’s present business
12        address(es), and (iii) identification of the expert or consultant’s past and
13        current employment and consulting relationships, including through entities
14        owned or controlled by the expert or consultant, during the past four (4)
15        calendar years, including an identification of the subject matter of any work
16        performed in the course of such employment or consulting and the name of
17        each person or entity who employed or used the services of the expert or
18        consultant, unless the employment or consulting was confidential or subject
19        to non-disclosure agreements that preclude disclosure of such information,; a
20        list of cases in which the expert has testified at deposition or trial within the
21        last four (4) calendar years, except those subject to non-disclosure agreements
22        that preclude disclosure of such information. Where an expert or consultant
23        is unable to disclose prior employment or identify a case where the expert or
24        consultant has testified at deposition or trial due to confidentiality or a non-
25        disclosure agreement, the expert or consultant will provide a general
26        description of the technology and subject matter involved in order for the
27        Producing Party to assess any potential conflicts, unless providing such
28        general description would violate or is prohibited by an agreement. In the
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1         event an objection is made pursuant to paragraph 33, the Receiving Party may
2         not begin to disclose Protected Material to any such expert or consultant until
3         the Receiving Party and the objecting entity resolve their dispute as
4         memorialized in writing or the Court denies the objecting entity’s motion
5         brought pursuant to paragraph 33;
6               e.     jury consultants, trial consultants, or mock jurors specifically
7         engaged by the Receiving Party or its Outside Counsel to assist in the Action,
8         subject to the following: (i) the Receiving Party may disclose Protected
9         Material to a jury consultant, trial consultant, or mock juror only to the extent
10        necessary to receive jury, trial, or mock-juror assistance; (ii) the Receiving
11        Party may begin to disclose Protected Material to the jury consultant, trial
12        consultant, or mock juror only after the individual has signed a copy of the
13        confidentiality agreement attached to this Protective Order as Exhibit A,
14        which copy the Receiving Party shall preserve for one (1) calendar year after
15        the Termination of this Action, and, with respect to mock jurors, the
16        Producing Party has provided express written consent which shall not be
17        unreasonably withheld; (iii) any Protected Material in the form of physical
18        documents or materials distributed to mock jurors under this subparagraph
19        shall be retained by the Receiving Party at the time the mock jurors’ assistance
20        has been completed; and (iv) any jury consultant, trial consultant, or mock
21        juror to whom Protected Material is disclosed by the Receiving Party shall not
22        be an officer, director, employee, or in-house attorney of the Receiving Party
23        unless identified pursuant to subparagraph (c);
24              f.     any court reporter, shorthand reporter, court typist, or interpreter
25        recording, transcribing, or translating testimony given in this Action;
26              g.     authors, actual recipients, and named recipients (as expressly
27        identified on the face of such Litigation Material) of such Litigation Material,
28        even if such authors or recipients are not currently employed by any party;
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1                 h.    the Producing Party, including any person affiliated with the
2          Producing Party for purposes of this litigation (such as experts and designees
3          under Federal Rule of Civil Procedure 30(b)(6));
4                 i.    the Court and all appropriate courts of appellate jurisdiction,
5          including these courts’ personnel;
6                 j.    jurors serving in any trial of this Action; and
7                 k.    any other person agreed to by the Producing Party in writing.
8          17.    A Receiving Party may disclose Confidential Material only to the
9    persons or entities identified in paragraphs 16(a) through 16(k).
10         18.    A Receiving Party may disclose Highly Confidential – Attorneys’ Eyes
11   Only Material only to the persons or entities identified in paragraphs 16(a) through
12   16(b), and 16(d) through 16(k).
13         19.    Upon learning during the pendency of this Action or within one
14   hundred eighty (180) calendar days of the Termination of this Action that the
15   information provided pursuant to paragraph 16(d) was inaccurate or incomplete with
16   respect to a given individual at the time such information was provided to the
17   Producing Party, a Receiving Party shall, for any Producing Party whose Protected
18   Material the Receiving Party disclosed to the individual, notify the Producing Party
19   of such inaccuracy or incompleteness as well as the information the Receiving Party
20   learned that led to the awareness of such inaccuracy or incompleteness.
21         20.    If Protected Material is to be disclosed during a deposition, any persons
22   present at the deposition who are not authorized to receive such Protected Material
23   under this Protective Order shall be asked to leave the deposition during the
24   testimony concerning such Protected Material.
25         21.    Notwithstanding the foregoing, if Protected Material makes reference
26   to the actual or alleged conduct or statements of a person who will be a witness,
27   counsel for the Receiving Party may discuss the conduct or statements with the
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1    witness without revealing any other portion of the Protected Material, and that
2    discussion shall not constitute disclosure in violation of this Protective Order.
3                                        SECURITY
4          22.    Nothing in this Protective Order imposes any obligation on a Producing
5    Party regarding the security, maintenance, storage, transport, or transmission of its
6    own Protected Material.
7          23.    To the extent any Receiving Party (apart from the persons identified in
8    paragraph 16(i)) maintains Protected Material, the Receiving Party shall maintain
9    the Protected Material in a secure and safe area and shall exercise at least the same
10   standard of due and proper care with respect to the storage, custody, use, and
11   dissemination of such information as is exercised by the Receiving Party with
12   respect to its own proprietary information.
13         24.    To the extent any Receiving Party (apart from the persons identified in
14   paragraph 16(i)) discards or destroys Protected Material, the Receiving Party shall
15   make reasonable efforts to do so in a secure manner.
16                      USE AND RETURN OR DESTRUCTION
17         25.    Nothing in this Protective Order precludes a Producing Party from
18   using or disseminating its own Protected Material in any way.
19         26.    If a Receiving Party wishes to file any papers with the Court containing
20   Protected Material, the Receiving Party must move to seal the papers or portions
21   thereof containing Protected Material (if such portions are segregable) in accordance
22   with Local Rule 79-5.2.2. Such motion shall be directed to the judge to whom the
23   papers are directed.
24         27.    The parties shall discuss in good faith measures to be taken during
25   pretrial and trial of the Action to protect confidentiality in accordance with this
26   Protective Order consistent with the right of the parties to present all necessary and
27   appropriate evidence in the Action. Nothing in this Protective Order prevents any
28   party from using or offering into evidence any Protected Material at any hearing,
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1    trial, or subsequent proceeding in this Action. This Protective Order does not limit
2    the admissibility of any evidence.
3          28.    Within ninety (90) calendar days of the Termination of this Action, all
4    parties, persons, and entities (including experts and consultants) who received
5    Protected Material shall make a good-faith effort to destroy or return to Outside
6    Counsel for the Producing Party all Protected Material and any copies of such
7    Protected Material, with the exception that Outside Counsel for a party (i.e., a party
8    to this Action) may retain electronic copies and a single paper copy of any of the
9    following    kinds    of    Litigation   Material   containing   Protected    Material:
10   correspondence and legal files; papers served or filed in this Action (including
11   discovery papers such as expert reports); transcripts; trial and deposition exhibits;
12   and items introduced at trial of this Action. Outside Counsel may also retain any
13   working files, emails, or email folders containing such materials. Outside Counsel
14   need not purge their document-management systems or archives. Within one
15   hundred twenty (120) calendar days of the Termination of this Action, any Receiving
16   Party shall certify in writing to any Producing Party that, to the best of the Receiving
17   Party’s knowledge, all Protected Material it received from the Producing Party,
18   except as specifically identified in this paragraph, has been returned or destroyed.
19                                        OBJECTIONS
20         29.    A Receiving Party or other interested person may object to the
21   designation given by the Producing Party to any Protected Material. The process for
22   making such an objection and for resolving the dispute shall be as follows:
23                a.      The objecting entity shall notify the Producing Party in writing
24         as to its objections to the designation. This notice shall, at a minimum,
25         specifically identify the designated material objected to, as well as the reasons
26         for the objections.
27                b.      Within ten (10) business days of the Producing Party’s receipt of
28         such notice, the objecting entity and Producing Party shall confer in person or
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1          by telephone in a good-faith effort to resolve the dispute and shall permit any
2          other person interested in maintaining the Protected Material’s designation to
3          participate in the conference.
4                 c.     If the conference does not resolve the dispute, the objecting
5          entity may bring a noticed motion to the Court pursuant to Local Rule 37 for
6          a ruling that the Protected Material is not entitled to the designation given by
7          the Producing Party or is entitled to a designation receiving greater protection
8          under this Protective Order than that given by the Producing Party.
9          30.    Notwithstanding any such challenge to the designation of Protected
10   Material, all Protected Material shall retain its status as Protected Material with such
11   designation until (a) the Producing Party revokes the designation pursuant to
12   paragraph 35 or (b) the Court rules that the designation is not proper and orders that
13   the designation be removed, possibly to be replaced with a different designation.
14         31.    In any challenge to the designation of Protected Material, the entity
15   seeking protection (or greater protection) for the Litigation Material (in most cases,
16   the Producing Party) shall have the burden of establishing that the Litigation
17   Material is entitled to the protection sought, including, for example, the burden of
18   establishing that, pursuant to paragraphs 14 through 15, the Litigation Material is
19   entitled to the designation that the Producing Party gave it. To the extent that the
20   objecting entity contends that the Protective Order does not apply to the contested
21   Litigation Material for any of the reasons set forth in paragraph 40, the objecting
22   entity shall have the burden of establishing its contention.
23         32.    Nothing in this Protective Order requires a Receiving Party or other
24   interested person to challenge the propriety or correctness of the designation of
25   Protected Material immediately; a failure to challenge by a given date does not
26   preclude a subsequent challenge to such designation.
27         33.    A Producing Party or other interested person may object to the proposed
28   disclosure of Protected Material to any person described in paragraph 16(d). The
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1    process for making such an objection and for resolving the dispute shall be as
2    follows:
3                a.     Within ten (10) business days of receiving the Receiving Party’s
4          written notice described in paragraph 16(d), the objecting entity shall notify
5          the Receiving Party in writing as to its objections to the proposed disclosure.
6          This notice shall, at a minimum, specifically identify the person objected to,
7          as well as the reasons for the objections.
8                b.     Within ten (10) business days of the Receiving Party’s receipt of
9          such notice, the objecting entity and Receiving Party shall confer in person or
10         by telephone in a good-faith effort to resolve the dispute.
11               c.     If the conference does not resolve the dispute, the objecting
12         entity may bring a noticed motion to the Court pursuant to Local Rule 37-2
13         for an order prohibiting the proposed disclosure; the objecting entity must
14         complete the Local Rule 37-2 process and file the motion within ten (10)
15         calendar days of the parties’ conference and must set the motion for hearing
16         on the earliest possible date.
17               d.     The Receiving Party may not disclose Protected Material to the
18         person objected to until, and only to the extent to which, (i) the Receiving
19         Party and objecting entity resolve their dispute as memorialized in writing,
20         (ii) the Court denies the objecting entity’s motion, or (iii) the objecting entity
21         fails to file a motion adhering to the time limits of paragraph 33(c).
22         34.   Any such challenge to the disclosure of Protected Material to a person
23   identified pursuant to paragraph 16(d) may not be made or renewed absent a showing
24   of good cause.
25         35.   Any Producing Party that has designated any Litigation Material as
26   “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” pursuant to this
27   Protective Order may revoke such designation and relinquish the accompanying
28   protections provided by this Protective Order by so notifying counsel for the
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1    Receiving Party in writing or by so stating on the record at any hearing or deposition.
2    Any such revocation and relinquishment will not prejudice or otherwise affect the
3    right any other party or nonparty may have to designate the same Litigation Material
4    as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only.” Upon so
5    revoking and relinquishing, the Producing Party may re-designate the Litigation
6    Material with a designation receiving less protection under this Protective Order than
7    the original designation, in which case, unless the Producing and Receiving Parties
8    agree otherwise, the Producing Party shall produce substituted, re-designated copies
9    of the Litigation Material.
10         INADVERTENT DISCLOSURE OR FAILURE TO DESIGNATE
11         36.    A Producing Party that inadvertently failed to designate Litigation
12   Material as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” shall
13   correct its failure within a reasonable time upon discovery of such inadvertent
14   disclosure by providing written notice of the error and substituted, correctly
15   designated copies of the inadvertently produced Litigation Material. Any Receiving
16   Party provided with such notice shall make reasonable efforts to retrieve and destroy
17   all copies of the incorrectly designated Litigation Material, including copies
18   disclosed or provided to others, as well as any notes or other materials relating to the
19   incorrectly designated Litigation Material that this Protective Order would not have
20   permitted had the Litigation Material been correctly designated. The Receiving Party
21   will not have violated, and will not be liable under, this Protective Order by relying
22   on the incorrect designation (including the absence of any designation), including
23   by, prior to receiving written notice of the error, disclosing the Litigation Material
24   or any information contained therein consistent with this Protective Order and the
25   incorrect designation.
26         37.    In the event a Receiving Party inadvertently discloses Protected
27   Material to a person not qualified to receive the information under the Protective
28   Order, such Receiving Party shall, upon learning of the disclosure: (a) promptly
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1    notify such unqualified person that the Protected Material contains confidential
2    information subject to this Protective Order; (b) promptly use reasonable efforts to
3    retrieve the disclosed Protected Material from such unqualified person and any notes
4    or other materials relating to the disclosed Protected Material and have such person
5    execute the confidentiality agreement attached as Exhibit A to this Protective Order;
6    (c) promptly make all reasonable efforts to preclude further dissemination or use by
7    such unqualified person; and (d) bring all pertinent facts relating to such disclosure
8    to the attention of the Producing Party within three (3) business days of learning of
9    the inadvertent disclosure.
10                                     EXEMPTIONS
11         38.    Nothing in this Protective Order authorizes any entity to disobey any
12   lawful request, subpoena, or order by any court or any federal, state, or foreign
13   governmental agency. However, if another person, court, or any federal, state, or
14   foreign governmental agency requests, subpoenas, or orders the production of
15   Protected Material from any entity subject to this Protective Order, that entity shall
16   promptly notify the Producing Party in writing of the request, subpoena, or order, so
17   that the Producing Party may have an opportunity to appear and be heard on whether
18   the Protected Material should be disclosed. Should the Producing Party object to the
19   production, it may seek appropriate relief from the appropriate court or agency, and
20   pending such a request and, if necessary, the entry of an appropriate stay order, the
21   entity receiving the request, subpoena, or order shall not produce the material in
22   dispute so long as it may lawfully refuse.
23         39.    Nothing in this Protective Order shall bar or otherwise restrict counsel
24   from rendering advice to his or her client with respect to this Action and, in the
25   course thereof, relying in a general way upon his or her examination of Protected
26   Material produced in this Action. But in rendering such advice and in otherwise
27   communicating with his or her client, counsel shall not disclose the contents of
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1    Protected Material produced by any other Producing Party except as otherwise
2    permitted by this Protective Order.
3          40.    None of the provisions of this Protective Order shall apply to Litigation
4    Material that:
5                 a.    is or was available to the public at or before the time of its
6          production hereunder;
7                 b.    becomes available to the public after the time of its production
8          through no act, or failure to act, on behalf of the Receiving Party, its counsel,
9          representatives, or experts;
10                c.    was known to, or is shown to have been independently developed
11         by, the Receiving Party before its production hereunder without use or benefit
12         of the produced Litigation Material;
13                d.    is obtained outside this Action by the Receiving Party from the
14         Producing Party without having been designated as confidential, provided,
15         however, that this provision does not disturb any preexisting obligation of
16         confidentiality;
17                e.    is obtained by the Receiving Party after the time of disclosure
18         hereunder from a third party having the right to disclose the same; or
19                f.    was previously produced, disclosed, or otherwise provided by
20         the Producing Party to the Receiving Party or any third party without an
21         obligation of confidentiality.
22                            MISCELLANEOUS PROVISIONS
23         41.    Nothing in this Protective Order precludes any Producing Party from
24   seeking additional protection of information, including, for example, an order that
25   certain matters may not be discovered at all.
26         42.    Nothing in this Protective Order precludes any Receiving Party from
27   seeking modification of or relief from this Protective Order.
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1          43.     The entry of this Protective Order shall not be construed as a waiver of
2    any right to object to the furnishing of information in response to discovery. Nor
3    does this Protective Order relieve any Producing Party of the obligation of producing
4    information in the course of discovery.
5          44.     All notices required by this Protective Order are to be made by email to
6    Outside Counsel representing the noticed party or nonparty. The date by which a
7    party or nonparty receiving notice shall respond or otherwise take action shall be
8    computed from the date of receipt of the notice. Any of the notice requirements
9    herein may be waived in whole or in part, but only in writing signed by an attorney
10   for the party or nonparty that is otherwise to be noticed.
11         45.     The terms of this Protective Order shall survive and remain in effect
12   after the Termination of this Action. The Court shall retain jurisdiction to hear
13   disputes arising out of this Protective Order.
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15
16         IT IS SO ORDERED.
17
                                           /s/ CHARLES F. EICK
18   Dated:      11/22/2021
                                                    Honorable Charles F. Eick
19
                                                    United States Magistrate Judge
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1                                       EXHIBIT A
2           I have read and understand the Protective Order entered on                 ,
3    2021, in the matter of Nomadix, Inc. v. SIA Mikrotīkls et al., Case No. CV19-10202
4    DDP (Ex), and agree to be bound by and to comply fully with the terms of such
5    order. Specifically, I will not disclose or permit the unauthorized viewing or
6    disclosure of Protected Material as set forth in the Protective Order. I further
7    understand that failure to comply fully with the terms of such Protective Order may
8    lead to sanctions imposed by the Court. I submit myself to the Court’s jurisdiction
9    for purposes of enforcement of the Protective Order.
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12
     Date                                  Signature
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15                                         Printed Name
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